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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 DISTRIBUTED MEDIA SOLUTIONS,
 LLC,

                Plaintiff,
                                                         CIVIL ACTION NO. 2:22-cv-255
 v.

 ASPIRO AB,
                                                          JURY TRIAL DEMANDED
                Defendant.


              PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT


       Plaintiff Distributed Media Solutions, LLC (“DMS” or “Plaintiff”) files this Complaint for

patent infringement against Aspiro AB (“Aspiro” or “Defendant”) and states as follows:

                                 NATURE OF THE ACTION

       1.      This is a civil action for patent infringement under the patent laws of the United

States of America, 35 U.S.C. § 1 et seq.

       2.      DMS is the owner of all right, title, and interest in U.S. Patent Nos. RE47,053 (the

“’053 Patent”), 8,122,004 (the “’004 Patent”), and 8,046,672 (the “’672 Patent”) (collectively, “the

Asserted Patents”), which have been attached as Exhibits A, B, and C and incorporated herein by

reference.

       3.       Defendant Aspiro has infringed and continues to infringe one or more claims of

the Asserted Patents by making, using, offering to sell, and selling within the United States,

including in this District, certain products and services, including through its Tidal product and

service. DMS seeks to recover monetary damages, attorneys’ fees, and costs.

                                           THE PARTIES
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        4.      DMS is a Georgia limited liability company with a principal place of business at

4725 Peachtree Corners Circle, Suite 230, Peachtree Corners, GA 30092.

        5.      On information and belief, Defendant Aspiro is a company organized under the laws

of Sweden, with its principal place of business at Grabrodersgatan 2, Malmo, Kalmar, Sweden. On

information and belief, Defendant Aspiro offers its products and/or services, including those

accused herein of infringement, to customers and potential customers located in Texas and in this

District.

                                  JURISDICTION AND VENUE

        6.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1338(a).

        7.      This Court has personal jurisdiction over Aspiro in accordance with due process

and/or the Texas Long Arm Statute because, among other things, Aspiro does business in this

State. For example, Aspiro has engaged, and continues to engage, in continuous, systematic, and

substantial activities with this State, including the substantial marketing, use, and sale of products

and services with this State and this District. This Court has personal jurisdiction over Aspiro

because it has committed acts giving rise to DMS’s claims for patent infringement within and

directed to this District and has derived substantial revenue from its goods and services provided

to individuals in this State and this District.

        8.      Defendant has committed and continues to commit acts of infringement in violation

of 35 U.S.C. § 271 within the Eastern District of Texas. Defendant has in the past made, used,

marketed, distributed, offered for sale, sold, and/or imported infringing products, and performed

infringing methods, in the State of Texas and in this District. Defendant continues to make, use,

market, distribute, offer for sale, sell, and/or import infringing products, and perform infringing



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methods, in the State of Texas and in this District. Accordingly, Defendant has in the past engaged,

and continues to engage, in infringing conduct within and directed at or from this District.

Additionally, Defendant has purposefully and voluntarily placed its infringing products into the

stream of commerce with the expectation that its infringing products will be used in this District.

The infringing products have been and continue to be distributed to and used in this District.

Defendant’s acts have caused, and continue to cause, injury to Plaintiff, including within this

District.

        9.     Venue is proper in this District under the provisions of 28 U.S.C. §§ 1391(b), (c),

(d) and/or 1400(b) at least because Aspiro is a foreign corporation organized under the laws of

Sweden.

                                  U.S. PATENT NO. RE47,053

        10.    On September 18, 2018, the United States Patent and Trademark Office duly and

legally issued the ’053 Patent, entitled “Method and System for Subscriber-Based Audio Service

Over a Communication Network” after a full and fair examination.

        11.    Exhibit A is a true and correct copy of the ’053 Patent.

        12.    The ’053 Patent is valid and enforceable under United States patent laws.

        13.    Plaintiff is the owner of the ’053 Patent, having received all right, title and interest

in and to the ’053 Patent from the previous assignee of record.

        14.    Plaintiff possesses all rights of recovery under the ’053 Patent, including the

exclusive right to recover for past infringement.




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                                  U.S. PATENT NO. 8,122,004

       15.     On February 21, 2012, the United States Patent and Trademark Office duly and

legally issued the ’004 Patent, entitled “Generating and Providing Rich Media Presentations

Optimized for a Device Over a Network” after a full and fair examination.

       16.     Exhibit B is a true and correct copy of the ’004 Patent.

       17.     The ’004 Patent is valid and enforceable under United States patent laws.

       18.     Plaintiff is the owner of the ’004 Patent, having received all right, title and interest

in and to the ’004 Patent from the previous assignee of record.

       19.     Plaintiff possesses all rights of recovery under the ’004 Patent, including the

exclusive right to recover for past infringement.

                                  U.S. PATENT NO. 8,046,672

       20.     On October 25, 2011, the United States Patent and Trademark Office duly and

legally issued the ’672 Patent, entitled “Method and System for Delivering Technology Agnostic

Rich Media Content Within an Email, Banner Ad, and Web Page” after a full and fair examination.

       21.     Exhibit C is a true and correct copy of the ’672 Patent.

       22.     The ’672 Patent is valid and enforceable under United States patent laws.

       23.     Plaintiff is the owner of the ’672 Patent, having received all right, title and interest

in and to the ’004 Patent from the previous assignee of record.

       24.     Plaintiff possesses all rights of recovery under the ’672 Patent, including the

exclusive right to recover for past infringement.

                                  THE ASSERTED PATENTS

       25.     The claims of the Asserted Patents are directed to patent-eligible, non-abstract

subject matter under 35 U.S.C. § 101. They are not directed to abstract ideas, and the claimed



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technology consists of ordered combinations of features and functions that, at the time of the

invention, were not, alone or in combination, well-understood, routine, or conventional.

       26.     The Asserted Patents provide technical and unconventional solutions to existing

shortcomings of the prior art. The specifications of the Asserted Patents disclose shortcomings in

the prior art and further explain, in detail, the technical and unconventional way the claimed

inventions resolve or overcome these shortcomings.

       27.     For example, the ‘053 Patent explains that “an improved method for delivering

music to users is desired that protects the rights of the owners of the music.” ‘053 Patent at 1:48-

50. As part of the solution to this problem, the ‘053 Patent discloses an invention where a

subscriber-based service provides “audio files to a client device connected to a server through a

network.” Id. at 2:56-59.

       28.     The ‘004 and ‘672 Patents explain that one problem with existing systems was that

the number of different systems and media files available resulted in users being “constantly

bombarded with different requirements” to receive and play those files. ‘004 Patent at 1:20-52.

This problem was solved, in part, through the use of an “attribute inquiry system” that determines

certain configuration information prior to providing the requested content. Id. at 13:28-63.

                     ASPIRO’S INFRINGING PRODUCTS AND ACTIVITIES

       29.     Aspiro provides Tidal, an on-demand audio-streaming platform (“the Accused

Product”) that enables its users to create and share playlists of audio content. In addition, the

Accused Product monitors and analyzes streaming audio data to determine royalties for content

creators and providers.




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https://tidal.com/about (last visited June 7, 2022).




https://support.tidal.com/hc/en-us/articles/201314721-How-Do-I-Create-Playlists- (last visited

June 7, 2022).


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https://support.tidal.com/hc/en-us/articles/115005840509-Share-Using-the-iOS-App (last visited

June 7, 2022).




https://support.tidal.com/hc/en-us/articles/4409637608849-Direct-Artist-Payouts-and-Royalties

(last visited June 7, 2022).

       30.       In addition, the Accused Product is enabled to be implemented in a browser. When

run on a browser, the Accused Product ascertains certain browser and/or system information to

make determinations regarding the content provided to the browser.




https://support.tidal.com/hc/en-us/articles/115005868269-Download-TIDAL (last visited on June

7, 2022).

                 COUNT I: INFRINGEMENT OF U.S. PATENT NO. RE47,053

       31.       Plaintiff incorporates by reference and re-alleges the foregoing paragraphs of this

Complaint as if fully set forth herein.

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       32.     Defendant has directly infringed at least claim 22 of the ’053 Patent in violation of

35 U.S.C. § 271 et seq., by making, using, offering for sale, or selling in the United States, and/or

importing into the United States without authority or license the Accused Product.

       33.     Defendant directly infringes at least claim 22 of the ‘053 Patent by performing all

the limitations of that claim. For example, claim 22 of the ’053 Patent recites:

       A method, comprising:

       receiving, at a computer system, a request from a first user of a music streaming
       service to send a playlist of music files to a second user of the music streaming
       service, wherein the playlist was previously created by the first user;

       in response to receiving the request from the first user, sending, by the computer
       system, a message identifying the playlist to the second user;

       receiving, at the computer system, a request from the second user to begin
       streaming at least a portion of the playlist;

       in response to receiving the request from the second user, streaming, by the
       computer system, one or more of the music files included in the playlist to the
       second user;

       storing, by the computer system, play-out information indicative of an amount of
       the streaming of the music files in the playlist to the second user, wherein the storing
       includes inserting records into a table of streamed music files, wherein the records
       include a first record specifying, for a particular one of the music files in the playlist
       streamed to the second user, 1) a pointer to the particular music file, 2) a duration
       of play-out of the particular music file streamed to the second user, and 3) an owner
       identifier indicating an owner of the particular music file to receive payment; and

       based on the play-out information, allocating, by the computer system, payments
       for owners of the music files in the playlist that have been streamed to the second
       user, wherein the allocating includes determining a total duration of play-out of the
       particular music file based on a plurality of durations of play-out of the particular
       music file included in the table.

       34.     As in claim 22 of the ‘053 Patent, the Accused Product receives, at a computer

system, a request from a first user of a music streaming service (e.g., Tidal) to send a playlist of

music files to a second user of the music streaming service, wherein the playlist was previously

created by the first user. For example, Tidal enables a first user to create a playlist.

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https://support.tidal.com/hc/en-us/articles/201314721-How-Do-I-Create-Playlists- (last visited

June 13, 2022).




https://support.tidal.com/hc/en-us/articles/115005843025-Create-playlists-using-the-iOS-app

(last visited June 13, 2022). And then that first use can share that playlist with another user.




https://support.tidal.com/hc/en-us/articles/115005840509-Share-Using-the-iOS-App (last visited

June 13, 2022).

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        35.     As in claim 22 of the ‘053 Patent, in response to receiving the request from the first

 user, the Accused Product sends, by the computer system, a message identifying the playlist to the

 second user. For example, the Accused Product can send a message identifying the playlist to a

 second user through various means.




 https://support.tidal.com/hc/en-us/articles/115005840509-Share-Using-the-iOS-App (last visited

 June 13, 2022).

        36.     As in claim 22 of the ‘053 Patent, the Accused Product receives, at the computer

 system, a request from the second user to begin streaming at least a portion of the playlist.




 https://support.tidal.com/hc/en-us/articles/115005840649-Favorite-Tracks-Albums-Artists-

 Playlists-Using-the-iOS-app (last visited June 13, 2022).

        37.     As in claim 22 of the ‘053 Patent, in response to receiving the request from the

 second user, the Accused Product streams, by the computer system, one or more of the music files

 included in the playlist to the second user.




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 https://support.tidal.com/hc/en-us/articles/115005840649-Favorite-Tracks-Albums-Artists-

 Playlists-Using-the-iOS-app (last visited June 13, 2022).

         38.    As in claim 22 of the ‘053 Patent, the Accused Product stores, by the computer

 system, play-out information indicative of an amount of the streaming of the music files in the

 playlist to the second user, wherein the storing includes inserting records into a table of streamed

 music files, wherein the records include a first record specifying, for a particular one of the music

 files in the playlist streamed to the second user, 1) a pointer to the particular music file, 2) a

 duration of play-out of the particular music file streamed to the second user, and 3) an owner

 identifier indicating an owner of the particular music file to receive payment. For example, Aspiro

 pays artists based on plays of content.




 https://support.tidal.com/hc/en-us/articles/4409637608849-Direct-Artist-Payouts-and-Royalties

 (last visited June 13, 2022). Aspiro provides functionality that enables users to determine which

 specific artists benefit from their personal streaming, which on information and belief evidences

 that Aspiro maintains information relating to specific songs, duration of play, and owner of the

 song.




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 https://support.tidal.com/hc/en-us/articles/4409637608849-Direct-Artist-Payouts-and-Royalties

 (last visited June 13, 2022). On information and belief, Aspiro tracks duration of play because

 songs need to stream for at least 30 seconds to count as a stream.                        See, e.g.,

 https://www.reddit.com/r/TIdaL/comments/skru63/what_counts_as_a_stream_on_tidal/                (last

 visited June 13, 2022).

        39.     As in claim 22 of the ‘053 Patent, based on the play-out information, the Accused

 Product allocates, by the computer system, payments for owners of the music files in the playlist

 that have been streamed to the second user, wherein the allocating includes determining a total

 duration of play-out of the particular music file based on a plurality of durations of play-out of

 the particular music file included in the table. For example, Aspiro pays artists based on plays of

 content.




 https://support.tidal.com/hc/en-us/articles/4409637608849-Direct-Artist-Payouts-and-Royalties

 (last visited June 13, 2022). Aspiro provides functionality that enables users to determine which

 specific artists benefit from their personal streaming, which on information and belief

 demonstrates that Aspiro maintains information relating to specific songs, duration of play, and

 owner of the song.




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 https://support.tidal.com/hc/en-us/articles/4409637608849-Direct-Artist-Payouts-and-Royalties

 (last visited June 13, 2022). On information and belief, Aspiro tracks duration of play because

 songs need to stream for at least 30 seconds to count as a stream.                      See, e.g.,

 https://www.reddit.com/r/TIdaL/comments/skru63/what_counts_as_a_stream_on_tidal/              (last

 visited June 13, 2022).

        40.       Defendant makes, uses, sells, and/or offers to sell the Accused Products which

 practices at least claim 22 of the ’053 Patent.

        41.       In violation of 35 U.S.C. § 271, Defendant has been directly infringing the ‘053

 Patent, including through its own use, testing, and sale of the Accused Products.

        42.       Defendant has had knowledge of infringement of the ’053 Patent at least as of the

 service of the present Complaint.

        43.       Defendant has directly infringed at least one claim of the ’053 Patent by making,

 using, offering for sale, and selling the Accused Product without authority in the United States.

 As a direct and proximate result of Defendant’s direct infringement of the ’053 Patent, DMS has

 been damaged.

        44.       By engaging in the conduct described herein, Defendant has injured DMS and is

 thus liable for infringement of the ’053 Patent, pursuant to 35 U.S.C. § 271.

        45.       Defendant has committed these acts of infringement without license or

 authorization.




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        46.     As a result of Defendant’s infringement of the ’053 Patent, Plaintiff has suffered

 monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

 for Defendant’s past infringement, together with interests and costs.

        47.     Plaintiff reserves the right to modify its infringement theories as discovery

 progresses in this case; it shall not be estopped for infringement contention or claim construction

 purposes by the claim chart that it provides with this Complaint.

                    COUNT II: INFRINGEMENT OF U.S. PATENT NO. 8,122,004

        48.     Plaintiff incorporates by reference and re-alleges the foregoing paragraphs of this

 Complaint as if fully set forth herein.

        49.     Defendant has directly infringed at least claim 1 of the ’004 Patent in violation of

 35 U.S.C. § 271 et seq., by making, using, offering for sale, or selling in the United States, and/or

 importing into the United States without authority or license the Accused Product.

        50.     The Accused Product meets all the limitations of at least claim 1 of the ’004 Patent.

 For example, claim 1 of the ’004 Patent recites:

        A computer-implemented method implemented by at least one device of a content
        delivery system, the method comprising:

        processing requests for media content from network devices to determine whether
        the network devices are supported by the content delivery system; and for at least
        one network device that is supported:

        configuring a content package for media content that is requested by the network
        device to include code specific to a browser of the network device identified based
        upon one or more attributes of the network device;

        causing communication of the content package to the network device; and

        wherein the one or more attributes include one or more of basic operating
        characteristics of the at least one network device, a language attribute, a bandwidth
        attribute, a firewall attribute, or a permissions attribute.




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        51.    As in claim 1 of the ‘004 Patent, the Accused Product provides a content delivery

 system.




 https://support.tidal.com/hc/en-us/articles/201167102-How-Much-Music-is-Available-in-

 TIDAL- (last visited June 13, 2022).

        52.    As in claim 1 of the ‘004 Patent, the Accused Product processes requests for media

 content from network devices (e.g., computers) to determine whether the network devices are

 supported by the content delivery system (e.g., Tidal). For example, the Accused Product provides

 functionality to allow the streaming of media content to the browser of a computer.




 https://support.tidal.com/hc/en-us/articles/115005868269-Download-TIDAL (last visited June 13,

 2022). The Accused Product supports streaming content to certain browsers.




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 https://support.tidal.com/hc/en-us/articles/115005872445 (last visited June 13, 2022).

         53.     As in claim 1 of the ‘004 Patent, the Accused Product configures a content package

 for media content (e.g., an audio file) that is requested by the network device (e.g., a computer) to

 include code specific to a browser of the network device identified based upon one or more

 attributes of the network device. For example, the Accused Product provides the media content to

 the browser based on certain specific attributes, such as language, a bandwidth attribute, and

 permissions attribute.

                                           <html lang="en">

 https://listen.tidal.com/ (view source) (last visited June 13, 2022).




 https://listen.tidal.com/settings (last visited June 13, 2022).




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 https://support.tidal.com/hc/en-us/articles/360002599997-What-Audio-Quality-Do-TIDAL-HiFi-

 Plans-Offer- (last visited June 13, 2022).




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 https://support.tidal.com/hc/en-us/articles/115003662825-Subscription-Types (last visited June

 13, 2022).




 https://support.tidal.com/hc/en-us/articles/115003672409-Deauthorize-a-Device-on-Mobile (last

 visited June 13, 2022).

          54.    As in claim 1 of the ‘004 Patent, the Accused Product causes communication of the

 content package (e.g., an audio file) to the network device (e.g., a computer). For example, Tidal

 streams an audio file to the browser of a computer.




 https://support.tidal.com/hc/en-us/articles/115005868269-Download-TIDAL (last visited June 13,

 2022).

          55.    As in claim 1 of the ‘004 Patent, in the Accused Product, the one or more attributes

 include one or more of basic operating characteristics of the at least one network device, a language

 attribute, a bandwidth attribute, a firewall attribute, or a permissions attribute. For example, the

 Accused Product provides the media content to the browser based on certain specific attributes,

 such as language, a bandwidth attribute, and permissions attribute.

                                           <html lang="en">

 https://listen.tidal.com/ (view source) (last visited June 13, 2022).




 https://listen.tidal.com/settings (last visited June 13, 2022).



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       https://support.tidal.com/hc/en-us/articles/360002599997-What-Audio-Quality-Do-

       TIDAL-HiFi-Plans-Offer- (last visited June 13, 2022).




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 https://support.tidal.com/hc/en-us/articles/115003662825-Subscription-Types (last visited June

 13, 2022).




 https://support.tidal.com/hc/en-us/articles/115003672409-Deauthorize-a-Device-on-Mobile (last

 visited June 13, 2022).

        56.       Defendant makes, uses, sells, and/or offers to sell the Accused Products which

 practices at least claim 1 of the ’004 Patent.

        57.       In violation of 35 U.S.C. § 271, Defendant has been directly infringing the ‘004

 Patent, including through its own use, testing, and sell of the Accused Products.

        58.       Defendant has had knowledge of infringement of the ’004 Patent at least as of the

 service of the present Complaint.

        59.       Defendant has directly infringed at least one claim of the ’004 Patent by making,

 using, offering for sale, and selling the Accused Product without authority in the United States.

 As a direct and proximate result of Defendant’s direct infringement of the ’004 Patent, DMS has

 been damaged.

        60.       By engaging in the conduct described herein, Defendant has injured DMS and is

 thus liable for infringement of the ’004 Patent, pursuant to 35 U.S.C. § 271.

        61.       Defendant has committed these acts of infringement without license or

 authorization.

        62.       As a result of Defendant’s infringement of the ’004 Patent, Plaintiff has suffered

 monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

 for Defendant’s past infringement, together with interests and costs.

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        63.     Plaintiff reserves the right to modify its infringement theories as discovery

 progresses in this case; it shall not be estopped for infringement contention or claim construction

 purposes by the claim chart that it provides with this Complaint.

                   COUNT III: INFRINGEMENT OF U.S. PATENT NO. 8,046,672

        64.     Plaintiff incorporates by reference and re-alleges the foregoing paragraphs of this

 Complaint as if fully set forth herein.

        65.     Defendant has directly infringed at least claim 1 of the ’672 Patent in violation of

 35 U.S.C. § 271 et seq., by making, using, offering for sale, or selling in the United States, and/or

 importing into the United States without authority or license the Accused Product.

        66.     Defendant has directly infringed at least claim 1 of the ‘672 Patent by performing

 all the limitation of that claim. For example, claim 1 of the ’672 Patent recites:

        A method comprising:

        receiving an indication over a network, in response to a request for access to a rich media
        presentation by an internet browser on a network device, that the internet browser on the
        network device has requested access to the rich media presentation;

        in response to the receiving an indication, detecting one or more attributes of one or both
        of rich media capabilities associated with the internet browser or rich media capabilities
        associated with the network device; and

        selecting a rich media presentation to be sent to the internet browser from among a plurality
        of rich media presentations based on the one or more attributes that are detected, wherein
        a selected rich media presentation includes a media package selected based on the one or
        more attributes that are detected and a virtual player configured to play the media package
        on the network device.

        67.     As in claim 1 of the ‘672 Patent, the Accused Product receives an indication over a

 network, in response to a request for access to a rich media presentation (e.g., a video) by an

 internet browser on a network device (e.g., a computer), that the internet browser on the network

 device has requested access to the rich media presentation.



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 https://support.tidal.com/hc/en-us/articles/360004182777-Play-Queue (last visited June 13, 2022).




 https://support.tidal.com/hc/en-us/articles/360003671658-My-Video-Mix (last visited June 13,

 2022).




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        68.     As in claim 1 of the ‘672 Patent, in response to the receiving an indication, the

 Accused Product detects one or more attributes of one or both of rich media capabilities associated

 with the internet browser or rich media capabilities associated with the network device. For

 example, the Tidal browser-based application provides for “auto” detection of bandwidth

 capability.




        69.     As in claim 1 of the ‘672 Patent, the Accused Product selects a rich media

 presentation to be sent to the internet browser from among a plurality of rich media presentations

 based on the one or more attributes that are detected, wherein a selected rich media presentation

 includes a media package selected based on the one or more attributes that are detected and a

 virtual player configured to play the media package on the network device. For example, the

 Accused Product sends video that is selected based on detected bandwidth.




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        70.       Defendant makes, uses, sells, and/or offers to sell the Accused Products which

 practices at least claim 1 of the ’672 Patent.

        71.       In violation of 35 U.S.C. § 271, Defendant has been directly infringing the ‘672

 Patent, including through its own use, testing, and sell of the Accused Products.

        72.       Defendant has had knowledge of infringement of the ’672 Patent at least as of the

 service of the present Complaint.

        73.       Defendant has directly infringed and continues to infringe at least one claim of the

 ’672 Patent by making, using, offering for sale, and selling the Accused Product without authority

 in the United States. As a direct and proximate result of Defendant’s direct infringement of the

 ’672 Patent, DMS has been damaged.

        74.       By engaging in the conduct described herein, Defendant has injured DMS and is

 thus liable for infringement of the ’672 Patent, pursuant to 35 U.S.C. § 271.

        75.       Defendant has committed these acts of infringement without license or

 authorization.




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           76.      As a result of Defendant’s infringement of the ’672 Patent, Plaintiff has suffered

 monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

 for Defendant’s past infringement, together with interests and costs.

           77.      Plaintiff reserves the right to modify its infringement theories as discovery

 progresses in this case; it shall not be estopped for infringement contention or claim construction

 purposes by the claim chart that it provides with this Complaint.

                                      DEMAND FOR JURY TRIAL

           78.      DMS demands a trial by jury of any and all causes of action.

                                         PRAYER FOR RELIEF

           WHEREFORE, DMS respectfully requests:

    a.           That Judgment be entered that Defendant has infringed one or more claims of the ’053

 Patent;

    b.           That Judgment be entered that Defendant has infringed one or more claims of the ’004

 Patent;

    c.           An award of damages pursuant to 35 U.S.C. §284, sufficient to compensate Plaintiff

 for the Defendant’s past infringement and any continuing or future infringement;

    d.           An assessment of pre-judgment and post-judgment interest and costs against Defendant,

 together with an award of such interest and costs, in accordance with 35 U.S.C. §284;

    e.           That Defendant be directed to pay enhanced damages, including Plaintiff’s attorneys’

 fees incurred in connection with this lawsuit pursuant to 35 U.S.C. §285; and

    f.           That Plaintiff be granted such other and further relief as this Court may deem just and

 proper.




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  DATED: July 8, 2022                  Respectfully submitted,

                                       /s/ Mark S. Raskin w/permission Stafford Davis
                                       Mark S. Raskin
                                       Michael S. DeVincenzo
                                       Daniel Miller
                                       KING & WOOD MALLESONS LLP
                                       500 5th Avenue, 50th Floor
                                       New York, New York 10110
                                       (212) 319-4755
                                       mark.raskin@us.kwm.com
                                       michael.devincenzo@us.kwm.com
                                       daniel.miller@us.kwm.com

                                       Stafford Davis
                                       State Bar No. 24054605
                                       Email: sdavis@stafforddavisfirm.com
                                       Catherine Bartles
                                       State Bar No. 24104849
                                       Email: cbartles@stafforddavisfirm.com
                                       THE STAFFORD DAVIS FIRM, PC
                                       815 S Broadway Ave
                                       Tyler, Texas 75701
                                       Phone: (903) 593-7000
                                       Fax: (903) 705-7369

                                       Attorneys for Plaintiff Distributed Media
                                       Solutions, LLC




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